 

Case 2:11-Cr-00100-ANB Document 105 Filed 05/03/11 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

)
)
v. ) Criminal No. ll 1100
) - §§
) (21 U.S.C. §846) c j;
LARRY HATTEN ) ' §§
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@_UBT_CM “"
§§
The United States Attorney Charges that §§

On or about November 20, 2006, in the Western District of

Pennsylvania, the defendant, LARRY HATTEN, did knowingly,

intentionally and unlawfully conspire with persons both known and
unknown to the United States Attorney to distribute and possess
with intent to distribute 500 grams or more of a nmxture and

substance containing a detectable amount of cocaine, a Schedule II

controlled substance, contrary to the provisions of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(B)(ii).

In violation of Title 21, United States Code, Section

846

 

DAVEQ/J. HICKTON
UNITED sTATEs ATTORNEY
PA ID #34524

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